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                                              February 16, 2021
Chief Judge Magdeline D. Coleman
United States Bankruptcy Court
Eastern District of Pennsylvania
Robert N.C. Nix Sr. Federal Courthouse
900 Market Street
Philadelphia, PA 19107

RE:     In re Joseph Walker, 19-12097 MDC
        M&T Bank v. Walker, Motion to Dismiss

Dear Judge Coleman:

        I represent M&T Bank in the above-captioned bankruptcy in which M&T Bank filed a Motion to
Dismiss or, in the alternative, for Relief from the Automatic Stay on September 18, 2020. On January 29,
2021, Your Honor entered an Order governing procedures for the evidentiary hearing scheduled for
Friday, February 19, 2021, which included deadlines for the Parties to serve both their witness lists and
exhibits by February 12, 2021 at 5:00 PM. M&T Bank has complied with that Order, but Debtor filed a
Motion to Extend the Time to serve these documents, with a requested deadline of “by the end of the day”
on Tuesday, February 16, 2021.

         While M&T Bank takes no position as to Debtor’s Motion, I am concerned that, based on the
Motion, Debtor intends to submit a large number of lengthy exhibits. Depending on when these
documents are served, M&T Bank will only have two days prior to the hearing to review these documents
and prepare for the hearing. Further, if any additional exhibits are needed by M&T Bank for cross-
examination, per Your Honor’s January 29, 2021 Order, M&T Bank would only have approximately one
day to make that determination in order to comply with the twenty-four hour service deadline for cross-
examination exhibits. Therefore, I would respectfully request that if Your Honor grants Debtor’s Motion,
Your Honor sets a deadline for submission of Debtor’s witness list and exhibits for a specific time today
prior to the end of business.

        Your Honor’s consideration in this matter is greatly appreciated.

                                                   Respectfully yours,

                                                   KML LAW GROUP, P.C.

                                                   /s/Rebecca A. Solarz
                                                   Rebecca A. Solarz
                                                   Attorney for M&T Bank

cc:     Irwin Trauss via electronic notification and email
